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 7

 8                                UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10                                          SAN JOSE DIVISION

11   LIFELINE LEGACY HOLDINGS, LLC, a Delaware Case No. 5:21-cv-07751-BLF
     limited liability company
12                                             PLAINTIFF’S NOTICE OF
                               Plaintiffs,     VOLUNTARY DISMISSAL OF
13                                             SECOND AMENDED COMPLAINT
             vs.                               WITHOUT PREJUDICE PURSUANT
14                                             TO FRCP 41(a)(1)(A)(i)
     OZY MEDIA, a Delaware corporation; SAMIR
15   RAO, an individual; CARLOS WATSON, an
     individual,
16
                                   Defendants.
17

18           PLEASE TAKE NOTICE that Plaintiff LifeLine Legacy Holdings, LLC, hereby
19   voluntarily dismisses the above-captioned action in its entirety and as to all defendants without
20   prejudice pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure. No defendant has
21   answered the Second Amended Complaint or filed a motion for summary judgment. Accordingly,
22   this action may be dismissed without an order of the Court.
23   DATED: November 7, 2022                 BLANK ROME LLP
24
                                             By: /s/ Christopher J. Petersen
25                                                   Gregory M. Bordo
                                                     Christopher J. Petersen
26                                           Attorneys for Plaintiff
                                             LIFELINE LEGACY HOLDINGS, LLC
27

28   163056.00601/129865446v.1
                                                                   PLAINTIFF’S VOLUNTARY DISMISSAL
                                                                          OF SAC WITHOUT PREJUDICE
                                                                        PURSUANT TO FRCP 41(a)(1)(A)(i)
